     Case 2:13-cv-06822-MWF-JCG Document 7 Filed 10/17/13 Page 1 of 2 Page ID #:27



 1
      Debbie P. Kirkpatrick, Esq. (SBN 207112)
 2    Albert R. Limberg, Esq. (SBN 211110)
      SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
 3
      1545 Hotel Circle South, Ste. 150
 4    San Diego, CA 92108-3426
 5
      Tel: 619/758-1891
      Fax: 619/296-2013
 6
      dkirkpatrick@sessions-law.biz
 7    alimberg@sessions-law.biz
 8
      Attorneys for Defendant NCO Financial Systems, Inc.
 9

10
                          UNITED STATES DISTRICT COURT

11                       CENTRAL DISTRICT OF CALIFORNIA
12
      JOHN JACOBS,                                   ) Case No. CV13 06822 MWF (JCGx)
13
                                                     )
14                      Plaintiff,                   )
15
                                                     ) STIPULATION TO DISMISS ENTIRE
            vs.                                      ) ACTION WITH PREJUDICE
16                                                   )
17    NCO FINANCIAL SYSTEMS, INC.                    )
      and DOES 1 through 10, inclusive,              )
18
                                                     )
19                      Defendant.                   )
                                                     )
20

21
      ///
22
      ///
23
      ///
24
      ///
25
      ///
26
      ///
27
      ///
28

                              Stipulation to Dismiss Entire Action with Prejudice

                                                      1
     Case 2:13-cv-06822-MWF-JCG Document 7 Filed 10/17/13 Page 2 of 2 Page ID #:28



 1
            Plaintiff John Jacobs and Defendant NCO Financial Systems, Inc., through
 2
      their designated counsel of record, hereby stipulate and agree that the above-
 3

 4    captioned action be dismissed with prejudice pursuant to FRCP 41(a)(1). Each
 5
      side will bear their own fees and costs.
 6

 7                                        Respectfully submitted,
 8

 9
      Dated: 10/17/13                     SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
10

11
                                          /s/ Albert R. Limberg
12                                        Albert R. Limberg
13                                        Attorney for
                                          NCO Financial Systems, Inc.
14

15

16
      Dated: 10/17/13                     THE LAW OFFICES OF L. PAUL MANKIN
17

18                                        /s/ L. Paul Mankin
19                                        L. Paul Mankin
                                          Attorney for
20
                                          John Jacobs
21

22

23

24

25

26

27

28

                                Stipulation to Dismiss Entire Action with Prejudice

                                                        2
